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AO 91 (Rev, 02/09) Criminal Complaint

 
  

 

 

UNITED STATES DISTRICT CourT .
for the aR 5 aK 3: 3 /
District of New Mexico CLERK “LAS cR UCES
United States of America ) | .
v, )
Francis Scott LEWIS caseno, (F- 721 MNT
)
Defendant
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of _02/09/2014 in the county of Eddy in the District of

New Mexico , the defendant violated Title 18 UL8.C.§ 922(g)(1), 924(aj(2)
, an offense described as follows:

Possess a firearm and ammunition that had moved in or affected interstate commerce after having been convicted of a
crime punishable by imprisonment for a term exceeding one year.

This criminal complaint is based on these facts:
See attached affidavit

a Continued on the attached sheet.
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Dennis King, ATF Special Agent
Printed name and title

 

Sworn to before me and signed in my presence.

/
Date: _3 | CMMAMLY Astin,
Judge's signature y

City and state: Las Cruces, New Mexico Lourdes A. Martinez,United States Magistrate Judge
Printed name and title

 

 
 

CRIMINAL COMPLAINT - CONTINUED

UNITED STATES OF AMERICA
VS

Francis Scott LEWIS

Affidavit of Dennis King

1. Your affiant, Dennis King, is a Special Agent with the Bureau of Alcohol, Tobacco, Firearms
and Explosives and has been so employed since April 27, 2008. Prior to April, your affiant
worked for over eight years as a police officer with United States Capitol Police in
Washington, D.C. As part of training to become an ATF Special Agent, your affiant
attended six months of specialized training sponsored by the Federal Law Enforcement
Training Center in Glynco, Georgia. As a result of this training, your affiant has been
certified as a Federal Investigator and has received specific training involving violations of
federal law. Your affiant has also received ATF specific training in the determination of
probable cause and in the use of warrants and complaints to enforce federal firearms laws.
Your affiant is currently assigned to the Las Cruces, New Mexico Field Office and has

conducted and participated in firearms investigations.

. Your affiant, being duly sworn, states the following to be true and correct to the best of his
knowledge and belief based upon his personal observations and from information provided
by knowledgeable law enforcement agents and officers who are involved in the investigation
of Francis Scott LEWIS. The facts outlined in this narrative are not meant to be a complete
narrative of all that has occurred in connection with this investigation, but are only a
summary of facts necessary to set forth probable cause in support of the criminal complaint

and does not purport to set forth all of the affiant’s knowledge regarding this investigation.

. Asa result of my training and experience as an ATF Special Agent, I am familiar with
federal criminal laws and know that it is a violation of Title 18 United States Code, Section
922(g) (1), for any person who has been convicted of a felony to possess any firearm or
ammunition in or affecting interstate commerce, or to receive any firearm or ammunition that

has been shipped or transported in interstate commerce.

. On February 9, 2014, Carlsbad Police Department Detective Naylor obtained a New Mexico
District Court search warrant for Francis Scott LEWIS residence located at 109 1/2 8.

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CRIMINAL COMPLAINT - CONTINUED

Guadalupe St, Carlsbad, New Mexico. The search warrant also included the search of Francis
Scott LEWIS and the white Chevrolet pick-up parked in his driveway. The search warrant
was for a Phoenix Arms .22 caliber pistol, pink in color holster, jewelry, methamphetamine,
and drug paraphernalia. On February 9, 2014, Carlsbad Police Department Swat Team —
executed the search warrant at 109 4S. Guadalupe St, Carlsbad, NM. Carlsbad police
Department Swat Team encountered Francis Scott LEWIS and Sky Epplar on the floor of the
residence and they were detained. Officers secured the residence. During the search of the
residence, officers found a Phoenix Arms, model HP22A, .22 caliber pistol bearing serial
number 4345979, a pink in color nylon holster, and jewelry. Officers found more firearms,
ammunition, and marijuana. Pecos Valley Drug Task Force (PYDTF) Agent Whitzel
obtained a second New Mexico District Court search warrant for firearms, ammunition,
marijuana, methamphetamine, money, drug paraphernalia, cellular telephones, and

documents.

. PVDTF Agents seized 24.3 grams of marijuana, 60.15 grams of methamphetamine, drug
paraphernalia, one (1) Mossberg, model 500, 12 gauge shotgun bearing serial number
T766317, One (1) Taurus, model ultra light 2765, .38 caliber revolver bearing serial number
2L99909, one (1) Phoenix Arms, model HP22A, .22 caliber pistol bearing serial number
4345979, ten (10) rounds of Remington .22 caliber ammunition, one (1) pink in color nylon
holster, ninety-eight (98) rounds of Remington .22 caliber ammunition, and eleven (11)

rounds of Federal 12 gauge ammunition from LEWIS’ residence.

. PVDTF Agent Whitzel read Francis Scott LEWIS his Miranda Rights and LEWIS agreed to
speak with Agent Whitzel. During the interview, LEWIS admitted to Agent Whitzel that the
firearms and drugs belonged to him (LEWIS).

. Francis Scott LEWIS is fully identified as Francis Scott LEWIS, a white male with a DOB of
October 1981. A review of LEWIS’ criminal history revealed he has prior felony convictions

for Possession of a Controlled Substance, Forgery (Making or Altering), Conspiracy to

Commit a Crime, and Receiving or Transferring a Stolen Motor Vehicle in the State of New
Mexico, County of Eddy, Fifth Judicial District Court. The case numbers are D-503-CR-
200200236, D-503-CR-200300019, D-503-CR-200300057, and D-503-CR-201000099. ; u

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CRIMINAL COMPLAINT - CONTINUED .

8. Based on your affiant’s training and experience as an ATF Special Agent, he is aware that

Mossberg firearms, Phoenix Arms firearms, Taurus firearms, Remington ammunition, and
Federal ammunition are not manufactured in the State of New Mexico. Therefore, Mossberg,
model 500, 12 gauge shotgun bearing serial number T766317, Taurus, model ultra light
2765, .38 caliber revolver bearing serial number ZL99909, Phoenix Arms, model HP22A, .22
caliber pistol bearing serial number 4345979, ten (10) rounds of Remington .22 caliber
ammunition, ninety-eight (98) rounds of Remington .22 caliber ammunition, and eleven (11)
rounds of Federal 12 gauge ammunition all traveled in and affected interstate and foreign

commerce,

. Based upon the above information, your affiant believes that on or about February 9, 2014,
Francis Scott LEWIS, who after having been convicted of a felony, illegally possessed °
firearms and ammunition that had moved in or affected interstate and foreign commerce in
violation of Title 18 USC 922(g)(1). This violation occurred within the city of Carlsbad, in
the County of Eddy, in the District of New Mexico.

10. This complaint was approved by Assistant United States Attorney Maria Armijo.

ne OA.
Dennis King Special Agent
Bureau of Alcohol, Tobacco, Firearms and Explosives

Subscribed and sworn in my presence, this a day of March 2014, and I find probable cause.

KBr dle Mpidiine,
Lourdes A. Martinez oO
United States Magistrate Judge

 
